Case 1:01-cv-12239-WGY Document 503 Filed 03/22/06 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE RELAFEN ANTITRUST Master File
LITIGATION No. 01-CV-12239-WGY
THIS DOCUMENT RELATES TO

END-PAYOR ACTIONS:
Lynch v. SmithKline Beecham Corp. No, 02-CV-10163-WGY

AF. of L. - AGC Building Trades Welfare
Plan v. SmithKline Beecham Corp.

No. 02-CV-10205-WGY

- Twin Cities Bakery Workers Health and No. 02-CV-985 (E.D. Pa.)
Welfare Fund v. SmithKline Beecham
Corp.

Houchins v. SmithKline Beecham Corp. No. 02-CV-10424-WGY

Teamsters Local No. 35 Health Plans
v. SmithKline Beecham Corp.

No. 02-CV-10487-WGY

Smithfield Foods, Inc. v. SmithKline No. 02-CV-10589-WGY

Beecham Corp.

Franklin v. SmithKline Beecham Corp. No. 02-CV-10671-WGY

Fox y. SmithKline Beecham Corp. No. 02-CV-11543-WGY

No. 02-CV-11806-WGY

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Kravitz v. SmithKline Beecham Corp.

wel PROPOSED ORDER APPROVING THE RELEASE OF ESCROW FUNDS

TO EFFECTUATE SETTLEMENT WITH THE STPP OPT-OUT GROUP

Upon consideration of the Joint Motion for Release of Escrow Funds it is hereby
ordered that U.S. Bank National Association, a national banking association, the Escrow
Agent for the Relafen Antitrust Litigation, transfer from the TPP Settlement Pool, by

wire to Dechert LLP, as counsel for SmithKlineBeecham Corp d/b/a GlaxoSmithKline,

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the sum of $10,457,368.90 within seven (7) days of the date hereof.

DATED: Meek. 22 2066 tzsin. A bung
Hon. William
Chief Judge

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